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                        IN THE UNITED STATES DISTRICT COURT
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                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                               Case No. 2:21-cr-491-SB
12   UNITED STATES OF AMERICA,                 Hon. Stanley Blumenfeld, Jr.
13        Plaintiff,
                                               JEFFREY FORTENBERRY’S
14   v.                                        UNOPPOSED EX PARTE
     JEFFREY FORTENBERRY,                      APPLICATION FOR LEAVE TO FILE
15
                                               MOTION TO STRIKE
16        Defendant.                           GOVERNMENT’S UNTIMELY PSR
                                               OBJECTIONS AND OPPOSITION TO
17                                             GOVERNMENT’S REQUESTS FOR
18                                             GUIDELINES ENHANCEMENTS

19                                             Hearing Date: June 28, 2022
                                               Hearing Time: 8:00 a.m.
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                 JEFFREY FORTENBERRY’S UNOPPOSED EX PARTE APPLICATION
                           FOR LEAVE TO FILE MOTION TO STRIKE
     Case 2:21-cr-00491-SB Document 217 Filed 06/21/22 Page 2 of 4 Page ID #:4757



 1         By and through his counsel of record, Jeffrey Lane Fortenberry hereby applies ex
 2 parte for leave to file his Motion to Strike the Government’s Untimely PSR Objections and
 3 Opposition to the Government’s Requests for Guidelines Enhancements (“Motion to Strike
 4 and Opposition Brief,” filed at Dkt. 216).
 5         This ex parte application is based upon the Notice of the Motion to Strike and
 6 Opposition Brief, the Motion to Strike and Opposition Brief, the accompanying declaration,
 7 the files and records in this case, and any further argument the Court might permit.
 8                                         Respectfully submitted,
 9
10 Dated: June 21, 2022                    BIENERT KATZMAN
11                                         LITTRELL WILLIAMS LLP

12
                                           By: /s/ Ryan V. Fraser
13                                            John L. Littrell
                                              Ryan V. Fraser
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                                              Attorneys for Jeffrey Fortenberry
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               JEFFREY FORTENBERRY’S UNOPPOSED EX PARTE APPLICATION FOR
                             LEAVE TO FILE MOTION TO STRIKE
     Case 2:21-cr-00491-SB Document 217 Filed 06/21/22 Page 3 of 4 Page ID #:4758



 1                          DECLARATION OF RYAN V. FRASER
 2         I, Ryan V. Fraser, declare as follows:
 3         1.    I am an attorney at Bienert Katzman Littrell Williams LLP, counsel of record
 4 for defendant Jeffrey Lane Fortenberry in the case of United States v. Fortenberry, number
 5 2:21-CR-00491-SB.
 6         2.    The presentence investigation report (“PSR”) in this case was filed on May 24,
 7 2022. The PSR recommends applying no enhancements to the base offense level under the
 8 United States Sentencing Guidelines (“Guidelines”). The PSR calculates an advisory
 9 custodial sentencing range of 0 to 6 months, which falls within Zone A of the Guidelines
10 sentencing table.
11         3.    Twenty-one days later, on June 14, 2022, at approximately 11:57 p.m., through
12 the government’s filing on CM/ECF at docket number 213, the government provided
13 defense counsel for the first time the government’s written objections to the PSR and written
14 position regarding Guidelines sentencing enhancements.
15         4.    Counsel for the parties met and conferred telephonically before the PSR
16 regarding sentencing. This occurred on May 5, 2022. At that time, the government attorneys
17 indicated that they saw the Guidelines custodial range as 6 to 12 months due to alleged
18 enhancements for obstruction of justice and abuse of trust, but the government provided no
19 supporting analysis and indicated that some of its views concerning sentencing, including
20 regarding the custodial range under the Guidelines, were tentative.
21         5.    The Court’s Criminal Standing Order called for the parties to file sentencing
22 memorandums by June 14, 2022.
23         6.    The government’s submission of written PSR objections in this case was
24 untimely under the Federal Rules of Criminal Procedure and Local Criminal Rules. This
25 deprived the defense of an opportunity to respond to those objections in a timely defense
26 sentencing memorandum.
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                                DECLARATION OF RYAN V. FRASER
     Case 2:21-cr-00491-SB Document 217 Filed 06/21/22 Page 4 of 4 Page ID #:4759



 1         7.    Defense counsel therefore seek leave to file a combined motion to strike the
 2 government’s untimely PSR objections and brief opposing the government’s requests for
 3 the Guidelines enhancements at issue.
 4         8.    Counsel for the respective parties met and conferred via email concerning the
 5 prospective submission by defense counsel of the Motion to Strike the Government’s
 6 Untimely PSR Objections and Opposition to the Government’s Requests for Guidelines
 7 Enhancements. Government counsel requested that defense counsel “note in [that] filing
 8 the following as the government’s position (in bold)”:
 9         The government provided its position regarding the applicability of the
10         two enhancements to both USPO (4/19) and defense counsel (5/5) long
           before the PSR was issued. USPO’s original analysis in the PSR (Dkt. No.
11         207), the addendum (Dkt. No. 215), as well as the defense’s anticipated
12         opposition brief all address the government’s positions on these
           enhancements. Accordingly, there has been no prejudice to the defense in
13         its ability to respond or to the USPO in considering the government’s
14         position. The government does not object to the defense’s request for
           leave to file an opposition brief addressing those enhancements.
15
16         I declare under penalty of perjury that the foregoing is true and correct and that this
17 declaration was executed electronically in Los Angeles County, California, on June 21,
18 2022.
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                                                  /s/ Ryan V. Fraser
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                                DECLARATION OF RYAN V. FRASER
